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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA


                                      CIVIL MINUTES – GENERAL

 Case No.    LA CV20-00149 JAK (JEMx)                                          Date        October 26, 2021
 Title       Dasan Trading, Co., Ltd. v. Va Va Voom et al.




 Present: The Honorable           JOHN A. KRONSTADT, UNITED STATES DISTRICT JUDGE

                   T. Jackson                                               Not Reported
                  Deputy Clerk                                      Court Reporter / Recorder
          Attorneys Present for Plaintiffs:                     Attorneys Present for Defendants:
                    Not Present                                              Not Present


 Proceedings:            (IN CHAMBERS) ORDER RE PLAINTIFF’S MOTION TO DISMISS CASE
                         PURSUANT TO Fed. R. Civ. P. 41(a)(2) (DKT. 43) JS-6


On January 6, 2020, Dasan Trading, Co., Ltd. (“Plaintiff”) brought this action against Va Va Voom and
Dese Enterprise, Inc. (collectively, “Defendants”), alleging violations under the Copyright Act of 1976,
17 U.S.C. § 101 et seq. Dkt. 1.

On July 15, 2021, Plaintiff filed a motion to dismiss the case pursuant to Fed. R. Civ. P. 41(a)(2). Dkt.
43 (the “Motion”). On August 19, 2021, Defendant filed an opposition. Dkt. 45.

Based on a review of the parties’ briefing, the Motion is GRANTED, without prejudice to a motion by
Defendants for an award of attorney’s fees. The determination to permit the filing of such a motion does
not reflect an assessment of the merits, if any, of such a motion.

IT IS SO ORDERED.




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                                                            Initials of Preparer      tj




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